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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                 PENSACOLA DIVISION – IN ADMIRALTY

IN RE SKANSKA USA CIVIL                   §
SOUTHEAST INC. AND                        §       ADMIRALTY RULE 9(H)
SKANSKA USA, INC., AS                     §
OWNERS OF THE BARGE M8030                 §       CIVIL ACTION NO.
PRAYING FOR EXONERATION                   §       3:20-CV-05980 – RV/MJF
FROM OR FOR LIMITATION OF                 §
LIABILITY
                                          §       SENIOR DISTRICT JUDGE
                                          §       LACEY A. COLLIER
                                          §
                                          §       MAGISTRATE JUDGE
                                          §       HOPE THAI CANNON


        CLAIMANTS’ OPPOSITION TO SKANSKA’S MOTION
      FOR EXTENSION OF TIME TO RESPOND TO CLAIMANTS’
       SPOLIATION AND RULE 37 MOTION FOR SANCTIONS

      COMES NOW, Claimants, by and through undersigned counsel, who object

to Skanska’s motion for an extension of time to respond to Claimants’ Spoliation

and Rule 37 Motion for Sanction (“Spoliation Motion”).

      The Court has “inherent power to ‘control the disposition of the causes on its

docket with economy of time and effort for itself, for counsel and for litigants.’”

L.E.A. Dynatech, Inc. v. Allina, 49 F.3d 1527, 1530 (11th Cir. 1995) (quoting Landis

v. N. Am. Co.¸ 299 U.S. 248, 254 (1936)). On August 2, 2021 Claimants properly




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filed their Spoliation Motion.1 This Court entered the First Amendment to Final

Scheduling Order (“Final Scheduling Order”) on July 29, 2021 requiring that “[a]ll

responses or objections to a discovery motion must be filed within 24 hours of the

motion being served.” Skanska requests an extension of ten days to respond to

Claimants’ Spoliation Motion. Skanska’s request should be denied.

      Skanska contends that Claimants have been working on their Spoliation

Motion for weeks and that Skanska has insufficient time to respond. But Skanska

knew that Claimants may file a spoliation motion the day that Skanska notified

Claimants, and the Court, of the spoliation. On June 16, 2021, Skanska first

notified the Court and Claimants of details concerning the spoliation. Your Honor

at that hearing indicated that if Claimants had a concern about preservation,

Claimants would need to file a motion.2 Spoliation has since been regularly

discussed at discovery conferences, and Claimants took a 30(b)(6) deposition

of Skanska’s corporate representative specifically directed to the issue of

spoliation, which was first noticed on June 28, 2021.3

      This Court has, on repeated occasions, emphasized the importance to move

expeditiously on matters of discovery in light of the September 13, 2021 trial.


1
  Skanska contends that Claimants’ motion “attaches 946 pages of exhibits.”
Claimants cite to deposition and discovery conference transcripts throughout the
motion, which were provided in full as exhibits.
2
  Ex. 1, June 16, 2021 Discovery Conference Transcript at 29:2-8.
3
  Ex. 2, June 28, 2020 30(b)(6) notice.
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Accordingly, Skanska is not entitled to nearly two weeks to respond, further delaying

the Court’s resolution of a matter so crucial to Claimants’ ability to prove their case

in a trial that is to commence in just over a month.

      Given that Skanska has had exactly as much time to prepare for a spoliation

motion as Claimants have, Claimants respectfully submit that Skanska’s motion for

a ten-day extension to respond should be denied and a scheduling order requiring

Skanska to respond no later than August 6, 2021 should be entered.



Dated: August 3, 2021            Respectfully Submitted,
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   CERTIFICATE OF COMPLIANCE WITH COURT’S WORD LIMIT


I hereby certify that the foregoing contains 447 words and complies with Local

Rule Local Rule 7.1(F).


                                     /s/ D. Nicole Guntner
                                     D. NICOLE GUNTNER
                                     Aylstock Witkin Kreis & Overholtz, PLLC



               CERTIFICATE OF COUNSEL CONFERENCE

I hereby certify that Counsel for Claimants have conferred with Counsel for

Petitioners prior to filing this motion, pursuant to Local Rule 7.1(B), and have not

been able to resolve the issues raised. Claimants oppose Skanska’s request for 10

days to respond, but offered agreement to not oppose a request by Skanska to

respond by Friday, August 6, 2021 and with Claimants’ Reply (if leave is sought and

granted) due by close of business, August 9, 2021.


                                     /s/ D. Nicole Guntner
                                     D. NICOLE GUNTNER
                                     Aylstock Witkin Kreis & Overholtz, PLLC




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                          CERTIFICATE OF SERVICE

      I hereby certify, on this 3rd day of August 2021, that the foregoing was filed
via the Court’s CM/ECF system, which will automatically serve and send
notification of such filing to all registered attorneys of record.

                                       /s/ D. Nicole Guntner
                                       D. NICOLE GUNTNER
                                       Aylstock Witkin Kreis & Overholtz, PLLC




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